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IN THE uNITED sTATEs DISTRICT coURT `F”£D 91'-4:0_¢_
FOR THE wEsTERN DISTRICT oF TENNESSEE
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EARNEST BANKS, X jp`i"
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Plainr,iff, 1
X
vs. X No. 05-2392-M1/V
I
HARRY sAYLE, et a1., x
X
Defendants. X
X

 

ORDER TO COMPLY WITH PLRA
OR
PAY FULL $250 CIVIL FILING FEE

 

Plaintiff Earnest Banks, booking number 04133462, an inmate
at the Shelby County Criminal Justice Complexl in Memphis, filed a prp
§§ complaint pursuant to 42 U.S.C. § 1983 on May 24, 2005.

Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28
U.S.C. § 1915(a)-(b), all prisoners bringing a civil action must pay
the full filing fee of $250 required by 28 U.S.C. § 1914(a).2 The
statute merely provides the prisoner the opportunity to make a
“downpayment” of a partial filing fee and. pay the remainder in
installments. See McGore v. Wrigglesworth, 114 F.3d 601, 604 (6th Cir.
1997) {“[w]hen an inmate seeks pauper status, the only issue is whether

the inmate pays the entire fee at the initiation of the proceeding or

 

1 The word “prison” is used in this order to refer to all places of

confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 Effective March 7, 2005, the civil filing fee was increased from $150.

Th|s document entered on the docket sheet :'n compriance @

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over a period of time under an installment plan. Prisoners are no
longer entitled to a waiver of fees and costs.”).

ln order to take advantage of the installment procedures, a
prisoner plaintiff must properly complete and submit to the district
court, along with the complaint, either Forn14 of the Appendix of Forms
found in the Federal Rules of Appellate Procedure, or an affidavit that
contains the same detailed information found in Form 4. McGore, 114
F.Bd at 605. The prisoner must also submit a certified prison trust
fund account statement, showing all activity in his account for the six
months preceding the filing of the complaint, and specifically showing:

1) the average monthly deposits, and
2) the average monthly balance

for the six months prior to submission of the complaint, and
3) the account balance when the complaint was submitted.

In this case, the Plaintiff submitted an in fgrma pauperis
affidavit but the certification section was not signed by a trust fund
officer. The Plaintiff also has not submitted a trust fund account
statement. Therefore, at the present time, Plaintiff is not eligible
to take advantage of the installment payment procedures of § 1915(b).
Plaintiff is, however, liable for the full $250 filing fee, which
accrued at the moment the Complaint was filed. Accordingly, Plaintiff
is hereby ORDERED to submit a certified copy of his trust fund account
statement or the full $250 civil filing fee to the following address
within thirty (30) days after the date of entry of this order:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

If Plaintiff needs additional time to file the required

documents, he may request one thirty-day extension of time from this

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Court. McGore, 114 F.3d at 605. If Plaintiff fails to file the required
documentation, the Court will assess the entire filing fee, without
regard to the installment payment procedures, and will dismiss the
action pursuant to Fed. R. Civ. P. 41(b) for failure to prosecute. ldp
If dismissed_under these circumstances, the case will not be reinstated
despite the subsequent payment of the full filing fee and regardless
of any request for pauper status.

If Plaintiff timely submits the proper documentation, and the
Court finds that Plaintiff is indeed, indigent, then. he may take
advantage of the installment procedures of § 1915(b). In such case,
Plaintiff will be able to make an initial partial payment equal to 20%
of the greater of the average monthly deposits to his trust fund
account for the past six months or the average monthly balance in his
account for the past six nmnths. After collection of the initial
partial filing fee, the remaining balance will be collected in monthly
installments equal to 20% of the income credited to the Plaintiff’s
account during the preceding months. These monthly payments, however,
will be withdrawn only when Plaintiff's account balance exceeds $10.

The Clerk is ORDERED to provide the Plaintiff a copy of the

prisoner ip forma pauperis affidavit form along with this order.

 
 
  
 

IT IS SO ORDERED this (% day of

 

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

   

UNnED `STATS D1STRClT C URT - WESTERN DISR1CT oF TENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02392 Was distributed by fax, mail, or direct printing on
August ll, 2005 to the parties listed.

 

Earnest J. Banks
#04133462

201 Poplar
l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

